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                             UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                                    Case No. 2:11-CR-00295-MCE

                Plaintiff,
        v.                                                   ORDER FOR RELEASE OF PERSON
                                                             IN CUSTODY
ANTHONY RIVERA,

             Defendant.
______________________________/



TO: THE UNITED STATES MARSHAL SERVICE.

        This is to authorize and direct you to release ANTHONY RIVERA, Case No. 2:11-CR-00295-MCE,

from custody for the following reasons:

                                          Release on Personal Recognizance

                                          Bail Posted in the Sum of $

                                          Unsecured Appearance Bond

                ___                       Appearance Bond with 10% Deposit

                                          Appearance Bond with Surety

                ___                       Corporate Surety Bail Bond

                 X              (Other): Pursuant to the Court’s Order on August 14, 2014, the defendant
                                is released and is to report to WellSpace Health located at 1820 J Street,
                                Sacramento, California 95811, not later than 9:00 a.m. on
                                August 15, 2014. The defendant is further ordered to appear for a
                                Revocation Hearing on December 4, 2014 at 9:00 a.m. in courtroom 7.


Issued at Sacramento, California on August 14, 2014 at 9:22 a.m.




                                                          Dated: August 14, 2014




                                                 _______________________________________
                                                 MORRISON C. ENGLAND, JR.
                                                 UNITED STATES DISTRICT JUDGE
